         Case: 1:24-cv-05853 Document #: 47 Filed: 08/14/24 Page 1 of 12 PageID #:2333




                         IN THE UNITED STATES DISTRICT COURT FOR
                            THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

    MERCIS, B.V.,
                                                                Case No. 24-cv-5853
                     Plaintiff,

    v.                                                          Judge Sara L. Ellis

    THE INDIVIDUALS, CORPORATIONS,                              Magistrate Judge Young B. Kim
    LIMITED LIABILITY COMPANIES,
    PARTNERSHIPS, AND UNINCORPORATED
    ASSOCIATIONS IDENTIFIED ON
    SCHEDULE A HERETO, et al.,

                     Defendants.

                               PRELIMINARY INJUNCTION ORDER

             Plaintiff MERCIS, B.V. (“Plaintiff”) filed a Motion for Entry of a Preliminary

    Injunction against the against the fully interactive, e-commerce stores 1 operating under the

    seller aliases identified in Schedule A to the Complaint and attached hereto (collectively,

    “Defendants”) and using at least the domain names identified in Schedule A (the “Defendant

    Domain Names”) and the online marketplace accounts identified in Schedule A (the “Online

    Marketplaces”). After reviewing the Motion and the accompanying record, this Court

    GRANTS Plaintiff’s Motion in part as follows.

             This Court finds Plaintiff has provided notice to Defendants in accordance with the

    Temporary Restraining Order entered July 18, 2024, [Dkt. Nos. 35, 36] (“TRO”), and Federal

    Rule of Civil Procedure 65(a)(1).

             This Court also finds, in the absence of adversarial presentation, that it has personal

    jurisdiction over Defendants because Defendants directly target their business activities toward


1
    The e-commerce store urls are listed on Schedule A hereto under the Online Marketplaces.
  Case: 1:24-cv-05853 Document #: 47 Filed: 08/14/24 Page 2 of 12 PageID #:2334




consumers in the United States, including Illinois. Specifically, Plaintiff has provided a basis

to conclude that Defendants have targeted sales to Illinois residents by setting up and operating

e-commerce stores that target United States consumers using one or more seller aliases, offer

shipping to the United States, including Illinois, and have sold products using infringing and

counterfeit versions of Plaintiff’s federally registered trademarks and copyrights (the “MIFFY

Trademarks and Copyrights”) to residents of Illinois. In this case, Plaintiff has presented

screenshot evidence that each Defendant e-commerce store is reaching out to do business with

Illinois residents by operating one or more commercial, interactive internet stores through

which Illinois residents can and do purchase products using counterfeit versions of the MIFFY

Trademarks and Copyrights. See Docket Nos.[13-32], which includes screenshot evidence

confirming that each Defendant e-commerce store does stand ready, willing and able to ship

its counterfeit goods to customers in Illinois bearing infringing and/or counterfeit versions of

the MIFFY Trademarks and Copyrights.

       This Court also finds that the injunctive relief previously granted in the TRO should

remain in place through the pendency of this litigation and that issuing this Preliminary

Injunction is warranted under Federal Rule of Civil Procedure 65. Evidence submitted in

support of this Motion and in support of Plaintiff’s previously granted Motion for Entry of a

TRO establishes that Plaintiff has demonstrated a likelihood of success on the merits; that no

remedy at law exists; and that Plaintiff will suffer irreparable harm if the injunction is not

granted.

       Specifically, Plaintiff has proved a prima facie case of trademark infringement because

(1) the MIFFY Trademarks are distinctive marks and are registered with the U.S. Patent and

Trademark Office on the Principal Register, (2) Defendants are not licensed or authorized to


                                                2
     Case: 1:24-cv-05853 Document #: 47 Filed: 08/14/24 Page 3 of 12 PageID #:2335




use any of the MIFFY Trademarks, and (3) Defendants’ use of the MIFFY Trademarks is

causing a likelihood of confusion as to the origin or sponsorship of Defendants’ products with

Plaintiff. Furthermore, Defendants’ continued and unauthorized use of the MIFFY Trademarks

and Copyrights irreparably harms Plaintiff through diminished goodwill and brand confidence,

damage to Plaintiff’s reputation, loss of exclusivity, and loss of future sales. Monetary damages

fail to address such damage and, therefore, Plaintiff has an inadequate remedy at law.

Moreover, the public interest is served by entry of this Preliminary Injunction to dispel the

public confusion created by Defendants’ actions. Accordingly, this Court orders that:

1.       Defendants, their officers, agents, servants, employees, attorneys, and all persons acting

         for, with, by, through, under, or in active concert with them be preliminarily enjoined and

         restrained from:

         a. using the MIFFY Trademarks and Copyrights or any reproductions, counterfeit

            copies, or colorable imitations in any manner in connection with the distribution,

            marketing, advertising, offering for sale, or sale of any product that is not a genuine

            MIFFY product or not authorized by Plaintiff to be sold in connection with the MIFFY

            Trademarks and Copyrights;

         b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

            MIFFY product or any other product produced by Plaintiff, that is not Plaintiff’s or

            not produced under the authorization, control, or supervision of Plaintiff and

            approved by Plaintiff for sale under the MIFFY Trademarks and Copyrights;

         c. committing any acts calculated to cause consumers to believe that Defendants’

            products are those sold under the authorization, control, or supervision of Plaintiff,

            or are sponsored by, approved by, or otherwise connected with Plaintiff; and


                                                 3
     Case: 1:24-cv-05853 Document #: 47 Filed: 08/14/24 Page 4 of 12 PageID #:2336




         d. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

            moving, storing, distributing, returning, or otherwise disposing of, in any manner,

            products or inventory not manufactured by or for Plaintiff, nor authorized by

            Plaintiff to be sold or offered for sale, and which bear any of Plaintiff’s trademarks,

            including the MIFFY Trademarks and Copyrights, or any reproductions, counterfeit

            copies, or colorable imitations.

2.       Defendants shall not transfer or dispose of any money or other of Defendants’ assets in

         any of Defendants’ financial accounts.

3.       The domain name registries for the Defendant Domain Names, including, but not

         limited to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the

         Public Interest Registry, and the domain name registrars, including, but not limited to,

         GoDaddy      Operating     Company       LLC,       Name.com,     PDR     LTD.      d/b/a/

         PublicDomainRegistry.com, and Namecheap Inc., within seven (7) calendar days of

         receipt of this Order or prior to the expiration of this Order, whichever date shall occur

         first, shall disable the Defendant Domain Names and make them inactive and

         untransferable until further order by this Court.

4.       Upon Plaintiff’s request, Defendants and any third party with actual notice of this Order

         who is providing services for any of Defendants, or in connection with any of

         Defendants’ Online Marketplaces, including, without limitation, any online

         marketplace platforms such as AliExpress, Alibaba Group Holding Ltd. (“Alibaba”),

         Alipay, Shopify, and PayPal, Inc. (“PayPal”) (collectively, the “Third Party

         Providers”), shall, within seven (7) calendar days after receipt of such notice, provide




                                                  4
     Case: 1:24-cv-05853 Document #: 47 Filed: 08/14/24 Page 5 of 12 PageID #:2337




         to Plaintiff expedited discovery, limited to copies of documents and records in such

         person’s or entity’s possession or control sufficient to determine:

         a. the identities and locations of Defendants, their officers, agents, servants,

            employees, attorneys, and any persons acting in active concert or participation with

            them, including all known contact information and all associated e-mail addresses;

         b. the nature of Defendants’ operations and all associated sales, methods of payment

            for services, and financial information, including, without limitation, identifying

            information associated with the Online Marketplaces and Defendants’ financial

            accounts, including Defendants’ sales and listing history related to their respective

            Online Marketplaces; and

         c. any financial accounts owned or controlled by Defendants, including their officers,

            agents, servants, employees, attorneys, and any persons acting in active concert or

            participation with them, including such accounts residing with or under the control

            of any banks, savings and loan associations, payment processors or other financial

            institutions, including, without limitation, PayPal, Inc. (“PayPal”), Alipay, Alibaba,

            Ant Financial Services Group (“Ant Financial”), Shopify, or other merchant

            account providers, payment providers, third party processors, and credit card

            associations (e.g., MasterCard and VISA).

5.       Upon Plaintiff’s request, those with notice of this Order, including the Third Party

         Providers as defined in Paragraph 4, shall within seven (7) calendar days after receipt of

         such notice, disable and cease displaying any advertisements used by or associated with

         Defendants in connection with the sale of counterfeit and infringing goods using the

         MIFFY Trademarks and Copyrights.


                                                 5
     Case: 1:24-cv-05853 Document #: 47 Filed: 08/14/24 Page 6 of 12 PageID #:2338




6.       Any Third Party Providers, including PayPal, Alipay, Alibaba, Ant Financial, ,

         andShopify, shall, within seven (7) calendar days of receipt of this Order:

         a. locate all accounts and funds connected to Defendants’ seller aliases, including, but

            not limited to, any financial accounts connected to the information listed in

            Schedule A hereto, the e-mail addresses identified in Exhibit [3] to the Declaration

            of Frank Padberg, and any e-mail addresses provided for Defendants by third

            parties; and

         b. restrain and enjoin any such accounts or funds from transferring or disposing of any

            money or other of Defendants’ assets until further order by this Court.

7.       Plaintiff may provide notice of the proceedings in this case to Defendants, including

         service of process pursuant to Fed. R. Civ. P. 4(f)(3), and any future motions, by

         electronically publishing a link to the Pleadings, this Order, and other relevant

         documents on a website and by sending an e-mail with a link to said website to the e-

         mail addresses identified in Exhibit [3] to the Declaration of Frank Padberg and any e-

         mail addresses provided for Defendants by third parties. The Clerk of the Court is

         directed to issue a single original summons in the name of “Bei Lu Bathroom Store and

         all other Defendants identified in the Operative Complaint” that shall apply to all

         Defendants. The combination of providing notice via electronic publication and e-mail,

         along with any notice that Defendants receive from payment processors, shall constitute

         notice reasonably calculated under all circumstances to apprise Defendants of the

         pendency of the action and afford them the opportunity to present their objections.

8.       Plaintiff’s Schedule A to the Pleading(s) [Dkt. No. 8], Exhibit [X] to the Declaration of

         Frank Padberg [Dkt. Nos. 13-32], and the TRO [Dkt. No. 36] are unsealed.


                                                 6
      Case: 1:24-cv-05853 Document #: 47 Filed: 08/14/24 Page 7 of 12 PageID #:2339




 9.       Any Defendants that are subject to this Order may appear and move to dissolve or modify

          the Order as permitted by and in compliance with the Federal Rules of Civil Procedure

          and the Northern District of Illinois Local Rules. Any third party impacted by this Order

          may move for appropriate relief.

 10.      The $10,000 (ten thousand dollar) bond posted by Plaintiff shall remain with the Court

          until a final disposition of this case or until this Preliminary Injunction is terminated.

                                                                SO ORDERED:


                                                                ______________________________
                                                                Sara L. Ellis
                                                                United States District Judge
Dated: August 14, 2024




                                                   7
Case: 1:24-cv-05853 Document #: 47 Filed: 08/14/24 Page 8 of 12 PageID #:2340




                                 Schedule A
     No. Defendant Name / Alias
      1   Bei Lu Bathroom Store
      2   Fools Fortune Store
      3   LvB Dolls Store
      4   PurpleCLH666 Store
      5   Shop4663082 Store
      6   Xi Mei Commerce Store
      7   Yby Manufacturer Dolls Store
      8   YZT Global Store Store
      9   Anhui Kemo Home Furnishings Co., Ltd.
     10 Anhui Magic Industry Co., Ltd.
     11 Baoding Treasure Beauty Trading Co., Ltd.
     12 Gansu Ximenger Trading Co., Ltd.
     13 Guangzhou Binze Leather Products Co., Ltd.
     14 Hangzhou Initi Imp&exp Co., Ltd.
     15 Hefei Luyisheng Box and Bag Co., Ltd
     16 Sanming Ninghua Shenghong Trading Firm
     17 Shangmeng (Guangzhou) E-Commerce Co., Ltd.
     18 Shenzhen Dayu Clothing Co., Ltd.
     19 Shenzhen Huachuang Zhilian Technology Co., Ltd.
     20 Shenzhen Jinxiu Anxuan Technology Co., Ltd.
     21 Wenzhou Xuanang Bag Co., Ltd.
     22 Xiamen Zongshuo E-Commerce Co., Ltd.
     23 Yiwu Jiushu Luggage Co., Ltd.
     24 Yiwu Panneng E-Commerce Firm
     25 Yiwu Peihong Luggage Co., Ltd.
     26 Yiwu Shunyu E-Commerce Co., Ltd.
     27 Yiwu Spring-Bag Co., Ltd.
     28 Yiwu Xtry Commodity Factory
     29 Yiwu Xunyi E-Commerce Co., Ltd.
     30 868 baby Store
     31 B-baby Store
     32 Baby Handmade DIY Accessories Store
     33 Baby Mummy Go Store
     34 Baby ToySuppliers Store
     35 Baby-Toy World Store
     36 BADIMAN Women Bags Store
     37 Bagggg Store
     38 Bajoy Store
     39 Belle Daily Baby Store
     40 BKy Dolls Store
     41 Campure 2882 Store Store
     42 CarToy Store
                                     8
Case: 1:24-cv-05853 Document #: 47 Filed: 08/14/24 Page 9 of 12 PageID #:2341




      43   Children Anime Peripherals Store
      44   Children's interesting world Store
      45   Daily Homewear Store
      46   Dubeyi boutique Store
      47   EMPMOKEY NO-1 Store
      48   Fascinating Baby Store
      49   Fealty Soul Store
      50   GatoVerdePets Store
      51   Go Go Baby Store
      52   Good can dropshipping Store
      53   GRHO DIY Accessories Store
      54   GRHO Newlife0214 Store
      55   GSG Life Store
      56   Ha-Ha Kids Store Store
      57   Happy Baby Boutique Store
      58   HAYANA KIDS Store
      59   Home of Pet Accessories Store
      60   HOME Store
      61   Home Tool LY Store
      62   IdealHomefurnishings Store
      63   Jiajing Jewelry Store
      64   Jinx Outlet Store
      65   JULY BAG Store
      66   JX985 Store
      67   laowu's toy Store
      68   Lastcat Store
      69   LINSHURU Store
      70   Lolit Accessories Store
      71   Macwave Stylish Store
      72   Make Fan co.,Itd Store
      73   Mechanical toy store Store
      74   Moegirl Maternity Baby Store
      75   Momlover Official Store
      76   MyLittle Store
      77   NIDHOGG Store
      78   PAIDITU Children Store
      79   pb Peggybuy Store
      80   Pi-kachu Anime Figure Store
      81   Pistachio baby Store
      82   Pure Soul Store
      83   Sanrio Pokémon Anime Stickers Store
      84   Senxiu Creative Store
      85   Shop1102754014 Store
      86   Shop1102907711 Store
                                       9
Case: 1:24-cv-05853 Document #: 47 Filed: 08/14/24 Page 10 of 12 PageID #:2342




       87   Shop1102925714 Store
       88   Shop1102935111 Store
       89   Shop1103276636 Store
       90   Shop1103430311 Store
       91   Shop1103434244 Store
       92   Shop1103457059 Store
       93   Shop1103457127 Store
       94   Shop1103460127 Store
       95   Shop1103507307 Store
       96   Shop1103604993 Store
       97   Shop5005503 Store
       98   Shop910744158 Store
       99   Song of Silk Official Store
      100   Soooon Store
      101   star moon Store
      102   Su Man Store
      103   SUPEHOMES HOME Store
      104   Supower New Star Daily Products Shop Store
      105   Syy668 Dolls Store
      106   The Darling Of Heaven Store
      107   Three Little Pigs Anime Peripheral Store
      108   Umikk Official Store
      109   Warm Kitty Baby Store
      110   Wonderful Bag Store
      111   XSLING Bag Store
      112   YEETEM Store
      113   ZHENSHU FASHION SAN Store
      114   Zhenyi Six Store
      115   Zhenyi Three Store
      116   ZILING Store
      117   Anhui Twinkle Tourist Articles Co., Ltd.
      118   Anhui Yunzuo Technology Co., Ltd.
      119   Baoding Boka trading Co., LTD
      120   Baoding Mianhuatang Gauze Manufacturing Co., Ltd.
      121   Changshu Qunying Import And Export Trade Development Co., Ltd.
      122   Dongguan Topgood Handbag Leather Co., Ltd.
      123   Dongguan Yucai Apparel Co., Ltd.
      124   Foshan Nanhai District Yipohong Trading Firm (individual Business)
      125   Foshan Taofengyuan Technology Ltd.
      126   Fu'an Mingzheng Industry And Trade Co., Ltd.
      127   Fuzhou Liangmei Import And Export Co., Ltd.
      128   Guangzhou Chuangyimei Industry And Trade Co., Ltd.
      129   Guangzhou Jixian Trading Co., Ltd.
      130   Guangzhou Xiangjie Luggage Products Co., Ltd.
                                        10
Case: 1:24-cv-05853 Document #: 47 Filed: 08/14/24 Page 11 of 12 PageID #:2343




      131   Guangzhou Yangxi Technology Co., Ltd.
      132   Hangzhou Hellomoon Trading Co., Ltd.
      133   Hangzhou Xinyiyong Trade Co.,Ltd
      134   Hebei Juanzhi New Material Technology Co., Ltd.
      135   Hefei Ming'en Trading Co., Ltd.
      136   Henan Beizhi'ai Clothing Co., Ltd.
      137   Henan Realme Industry Co., Ltd.
      138   Henan Shengbei Industrial Co., Ltd.
      139   Jiangxi Qianhe Maternal And Child Products Co., Ltd.
      140   Kunshan Zhongru Pet Products Co.,Ltd
      141   Lanxi J-Lin Clothing Textile Co., Ltd.
      142   Linhai Newlanston Arts And Crafts Co., Ltd.
      143   Lixian Weehao Towel Factory
      144   Longgang Xiangfu Arts And Crafts Co., Ltd.
      145   Nanning Gouster Trading Co., Ltd.
      146   Nantong Junxiu Textile Co., Ltd.
      147   Ningbo Bisenly International Trade Co., Ltd.
      148   Ningbo Zhichen Trading Co., Ltd.
      149   Qingdao Claw Printing And Partner International Trade Co., Ltd.
      150   Quanzhou Bolisi Trading Co., Ltd.
      151   Quzhou Yongpan Trade Co., Ltd.
      152   Shandong Sky Imp& Exp Co., Ltd.
      153   Shanghai Chenming Network Technology Co., Ltd.
      154   Shanghai Transcolor Co., Ltd.
      155   Shantou Longhu Tianmili Wool Weaving Factory
      156   Shantou Nanshen Crafts Industry Co., Ltd.
      157   Shaoxing Disen Textile Co.,ltd
      158   Shaoxing Edi Textile Co., Ltd.
      159   Shaoxing Fonjon Textile Co., Ltd.
      160   Shaoxing Jeerayfun Textile Co., Ltd.
      161   Shaoxing Suerte Textile Co., Ltd.
      162   Shenzhen D-Jeesian Bags Co., Ltd.
      163   Shenzhen Haoyue Industry Co., Ltd.
      164   Shenzhen Qiancheng E-Commerce Co., Ltd.
      165   Shenzhen Xuancai Mofang Technology Co., Ltd.
      166   Sichuan Lilalila Luggage Co., Ltd.
      167   Suzhou Jueying Textile Co., Ltd.
      168   Wenzhou Hengji Packing Co., Ltd.
      169   Wenzhou Zhonggao Crafts & Gifts Co., Ltd.
      170   Wuhan Bossxiao Packaging Co.,Ltd
      171   Wuxi Lantian Textiles Co., Ltd.
      172   Xiamen Packrich Imp. And Exp. Co., Ltd.
      173   Yiwu Ali Toy Co., Ltd.
      174   Yiwu Baili Import & Export Co., Ltd.
                                         11
Case: 1:24-cv-05853 Document #: 47 Filed: 08/14/24 Page 12 of 12 PageID #:2344




      175   Yiwu Boge Luggage&Bag Co., Ltd.
      176   Yiwu Dizhifei Trading Co., Ltd.
      177   Yiwu Geofair Import & Export Co., Ltd.
      178   Yiwu Huanwu Home Furnishings Co., Ltd.
      179   Yiwu Jiandie Trading Co., Ltd.
      180   Yiwu Jiaze Luggage Co., Ltd.
      181   Yiwu Kawayi Clothing Co., LTD
      182   Yiwu Mistyler Garment Co., Ltd.
      183   Yiwu Speedbag Co., Ltd.
      184   Yiwu Xingtu Luggage Co., Ltd.
      185   Yiwu Xinming Trading Co., LTD
      186   Yiwu Yadolce Garment Co., Ltd.
      187   Yiyang Beishufu Trading Co., Ltd.
      188   Zhengzhou Kaizerui New Material Co., Ltd.
      189   durunaru
      190   loveczerynne
      191   maximaison
      192   Momo Bunni
      193   NOVUDORM
      194   bluecoconut
      195   BUNNYGO
      196   FANCCY
      197   Getaholic
      198   HISWAN
      199   PAW-EVER
      200   petit-bazaar
      201   swagshirts99
      202   WERONE




                                        12
